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                     EXHIBIT A

                    Proposed Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re
                                                             Chapter 11
BURGESS BIOPOWER, LLC,
                                                             Case No. 24-10235 (LSS)
            Debtor.
                                                             Federal Tax I.D. No. XX-XXXXXXX

In re
                                                             Chapter 11
BERLIN STATION, LLC,
                                                             Case No. 24-10236 (LSS)
            Debtor.
                                                             Federal Tax I.D. No. XX-XXXXXXX


           ORDER PURSUANT TO RULE 1015(b) OF THE FEDERAL RULES OF
        BANKRUPTCY PROCEDURE (I) DIRECTING JOINT ADMINISTRATION OF
             CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF
           Upon the Motion of the Debtors for Order (I) Directing Joint Administration of Chapter

11 Cases Pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure and (II)

Granting Related Relief (the “Motion”);1 and upon the Declaration of Dean Vomero Pursuant to

28 U.S.C. § 1746 in Support of the Debtors’ Chapter 11 Petitions and First Day Pleadings; and

the Court finding that: (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware dated February 29, 2012; (b) this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2); and (c) the Court may enter a final order consistent with Article III of the

United States Constitution; and upon the record herein; and after due deliberation thereon; and it

appearing that sufficient notice of the Motion has been given and that no other or further notice is

necessary; and good cause appearing therefor; it is hereby


1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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        ORDERED THAT:

        1.      The Motion is GRANTED, as set forth herein.

        2.      The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by the Court under Case No. 24-10235 (LSS) in accordance

with the provisions of Bankruptcy Rule 1015(b) and Local Rule 1015-1.

        3.      The caption of pleadings and other documents filed in the jointly administered cases

shall read as follows:

                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re                                                 Chapter 11

BURGESS BIOPOWER, LLC, et al.1                        Case No. 24-10235 (LSS)

           Debtors.                                    (Jointly Administered)

1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal
tax identification number are: Burgess BioPower, LLC (0971) and Berlin Station, LLC (1913).
The Debtors’ corporate headquarters are located at c/o CS Operations, Inc., 631 US Hwy 1, #300,
North Palm Beach, FL 33408.

        4.      The caption set forth above shall be deemed to satisfy any applicable requirements

of Bankruptcy Code Section 342(c) and Bankruptcy Rule 2002(n).

        5.      All pleadings and other documents to be filed in the jointly administered cases shall

be filed and docketed in the case of Burgess BioPower, LLC, Case No. 24-10235 (LSS).

        6.      A docket entry shall be made in the case of Berlin Station, LLC substantially as

follows:

                The Bankruptcy Court has entered an Order in accordance with Federal Rule of
                Bankruptcy Procedure 1015(b), for procedural purposes, that provides for joint
                administration of the chapter 11 cases of Burgess BioPower, LLC and its affiliate
                Berlin Station, LLC. The docket in Case No. 24-10235 (LSS) should be consulted
                for all matters affecting this case.


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       7.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting the substantive consolidation of any of the above-captioned cases

and this Order shall be without the rights of the Debtors to seek the entry of an order substantively

consolidating their respective cases.

       8.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       9.      This Order is effective immediately upon its entry.

       10.     This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, and enforcement of this Order.




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